                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN


DAMIEN S. HEWLETT,

                Plaintiff,

       v.                                       Case No. 22C1376

JASON HILL

AND,

ZACHARY LANGE,

                Defendants.


            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


       NOW COME the Defendants by their attorneys, Wisconsin Attorney General

Joshua L. Kaul and Assistant Attorney General Sarah A. Huck, and hereby move the

Court, pursuant to Fed. R. Civ. P. 56, for an order of summary judgment dismissing

this lawsuit.

       The grounds for this motion are set forth in the accompanying Defendants’

Brief in Support of Motion for Summary Judgment, Defendants’ Proposed Findings

of Fact and Declarations.

       Plaintiff is notified that this motion is based on Fed. R. Civ. P. 56, a copy of

which is attached to this motion. In addition, accompanying this motion is a copy of

E.D. Wis. Civ. R. 7 and E.D. Wis. Civ. R. 56.




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      Plaintiff is further notified that affidavits and any other documents

accompanying this motion are incorporated by reference herein. Any factual assertion

in the declarations (and other admissible proof) submitted or referred to in support

of the Defendants’ motion will be accepted by the judge as true unless you submit

affidavits or declarations or other admissible documentary evidence contradicting

such assertion. Failure to oppose the Defendants’ declarations (or other admissible

proof) with your own affidavits or declarations (or other admissible proof) may result

in entry of judgment against you.

      Dated: October 16, 2023

                                       Respectfully submitted,

                                       JOSHUA L. KAUL
                                       Attorney General of Wisconsin

                                       s/ Sarah A. Huck
                                       SARAH A. HUCK
                                       Assistant Attorney General
                                       State Bar #1036691

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Rule 56. Summary Judgment

a) Motion for Summary Judgment or Partial Summary Judgment. A party
may move for summary judgment, identifying each claim or defense--or the part of
each claim or defense--on which summary judgment is sought. The court shall grant
summary judgment if the movant shows that there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law. The court
should state on the record the reasons for granting or denying the motion.
(b) Time to File a Motion. Unless a different time is set by local rule or the court
orders otherwise, a party may file a motion for summary judgment at any time until
30 days after the close of all discovery.
(c) PROCEDURES.
       (1) Supporting Factual Positions. A party asserting that a fact cannot be
    or is genuinely disputed must support the assertion by:
              (A) citing to particular parts of materials in the record, including
       depositions, documents, electronically stored information, affidavits or
       declarations, stipulations (including those made for purposes of the motion
       only), admissions, interrogatory answers, or other materials; or
              (B) showing that the materials cited do not establish the absence or
       presence of a genuine dispute, or that an adverse party cannot produce
       admissible evidence to support the fact.
       (2) Objection That a Fact Is Not Supported by Admissible Evidence. A
    party may object that the material cited to support or dispute a fact cannot be
    presented in a form that would be admissible in evidence.
       (3) Materials Not Cited. The court need consider only the cited materials,
    but it may consider other materials in the record.
       (4) Affidavits or Declarations. An affidavit or declaration used to support
    or oppose a motion must be made on personal knowledge, set out facts that would
    be admissible in evidence, and show that the affiant or declarant is competent to
    testify on the matters stated.
(d) WHEN FACTS ARE UNAVAILABLE TO THE NONMOVANT. If a nonmovant shows by
affidavit or declaration that, for specified reasons, it cannot present facts essential to
justify its opposition, the court may:
       (1) defer considering the motion or deny it;
       (2) allow time to obtain affidavits or declarations or to take discovery; or
       (3) issue any other appropriate order.
(e) FAILING TO PROPERLY SUPPORT OR ADDRESS A FACT. If a party fails to properly
support an assertion of fact or fails to properly address another party’s assertion of
fact as required by Rule 56(c), the court may:
       (1) give an opportunity to properly support or address the fact;
       (2) consider the fact undisputed for purposes of the motion;
       (3) grant summary judgment if the motion and supporting materials—
    including the facts considered undisputed—show that the movant is entitled to it;
    or



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       (4) issue any other appropriate order.
(f) Judgment Independent of the Motion. After giving notice and a reasonable
time to respond, the court may:
       (1) grant summary judgment for a nonmovant;
       (2) grant the motion on grounds not raised by a party; or
       (3) consider summary judgment on its own after identifying for the parties
    material facts that may not be genuinely in dispute.
(g) Failing to Grant All the Requested Relief. If the court does not grant all the
relief requested by the motion, it may enter an order stating any material fact--
including an item of damages or other relief--that is not genuinely in dispute and
treating the fact as established in the case.
(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an
affidavit or declaration under this rule is submitted in bad faith or solely for delay,
the court--after notice and a reasonable time to respond--may order the submitting
party to pay the other party the reasonable expenses, including attorney's fees, it
incurred as a result. An offending party or attorney may also be held in contempt or
subjected to other appropriate sanctions.

(Amended December 27, 1946, eff. March 19, 1948; January 21, 1963, eff. July 1,
1963; March 2, 1987, eff. August 1, 1987; April 30, 2007, eff. December 1, 2007; March
26, 2009, eff. December 1, 2009; April 28, 2010, effective December 1, 2010.)




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                   Civil L. R. 7. Form of Motions and Other Papers

(a)   Form of Motion and Moving Party’s Supporting Papers. Every motion
must state the statute or rule pursuant to which it is made and, except for those
brought under Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice), must be
accompanied by:

         (1)    a supporting memorandum          and,   when    necessary,   affidavits,
      declarations, or other papers; or

          (2)   a certificate stating that no memorandum or other supporting paperswill
      be filed.

(b)    Non-Moving Party’s Response. For all motions other than those for
summary judgment or those brought under Civil L. R. 7(h) (Expedited Non-
Dispositive Motion Practice), any memorandum and other papers in opposition must
be filed within 21 days of service of the motion. Failure to respond to the motion may
result in the Court deciding the motion without further input from the parties.

(c)    Reply. For all motions other than those for summary judgment or those
brought under Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice), the
moving party may serve a reply memorandum and other papers within 14 days from
service of the response memorandum.

(d)    Sanction for Noncompliance. Failure to comply with the briefing
requirements in Civil L. R. 7(a)-(b) may result in sanctions up to and including the
Court denying or granting the motion. Sanctions remain available under General L.
R. 83(f).

(e)      Oral Argument. The Court will hear oral argument at its discretion.

(f)   Length of Memoranda. Subject to the limitations of Civil L. R. 7(h)
(Expedited Non-Dispositive Motion Practice) and Civil L. R. 56 (Summary Judgment
Motion Practice), the principal memorandum in support of, or in opposition to, any
motion must not exceed 30 pages and reply briefs must not exceed 15 pages (excluding
any caption, cover page, table of contents, table of authorities, and signature block).
No memorandum exceeding the page limitations may be filed unless the Court has
previously granted leave to file an oversized memorandum.

(g)   Modification of Provisions in Particular Cases. The Court mayprovide by
order or other notice to the parties that different or additional provisions regarding
motion practice apply.




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(h)  Expedited Non-Dispositive Motion Practice.
     (1)    Parties in civil actions may seek non-dispositive relief by expedited
  motion. The motion must be designated as a “Civil L. R. 7(h) Expedited Non-
  Dispositive Motion.” The Court may schedule the motion for hearing or may decide
  the motion without hearing. The Court may designate that the hearing be
  conducted by telephone conference call. The Court may order an expedited briefing
  schedule.

     (2)    The motion must contain the material facts, argument, and, if
  necessary, counsel’s certification pursuant to Civil L. R. 37. The motion must not
  exceed 3 pages excluding any caption and signature block. The movant maynot file
  a separate memorandum with the motion. The movant may file with the motion
  an affidavit or declaration for purposes of (1) attesting to facts pertinent to the
  motion and/or (2) authenticating documents relevant to the issue(s) raised in the
  motion. The movant’s affidavit or declaration may not exceed 2 pages. The
  respondent must file a memorandum in opposition to the motion within 7 days of
  service of the motion, unless otherwise ordered by the Court. The respondent’s
  memorandum must not exceed 3 pages. The respondent may file with its
  memorandum an affidavit or declaration for purposes of (1) attesting to facts
  pertinent to the respondent’s memorandum and/or (2) authenticating documents
  relevant to the issue(s) raised in the motion. The respondent’s affidavit or
  declaration may not exceed 2 pages. No reply brief is permitted absent leave of
  Court.

     (3)   The provisions of subsection (h) do not apply to 42 U.S.C. § 1983 actions
  brought by incarcerated persons proceeding pro se.

           (i)    Leave to file paper. Any paper, including any motion,
        memorandum, or brief, not authorized by the Federal Rules of Civil
        Procedure, these Local Rules, or a Court order must be filed as an
        attachment to a motion requesting leave to file it. If the Court grants the
        motion, the Clerk of Court must then file the paper.

           (j)      Citations.

                    (1)    With the exception of the prohibitions in Seventh Circuit
                 Rule 32.1,this Court does not prohibit the citation of unreported or
                 non-precedential opinions, decisions, orders, judgments, or other
                 written dispositions.

                    (2)   If a party cites an unreported opinion, decision, order,
                 judgment or other written disposition, the party must file and serve
                 a copy of that opinion, decision, order, judgment, or other written



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                disposition.

             (k)    Notice of Supplemental Authority. If pertinent and
         significant authorities relevant to an issue raised in a pending motion come
         to a party’s attentionafter a party’s final brief on the motion has been filed,
         the party may file a Notice of Supplemental Authority, attaching the new
         authority, without leave of the court. TheNotice of Supplemental Authority
         may not contain any argument but may identify the page or section in the
         filed briefs to which the authority is relevant.

        Committee Comment: The rule expressly allows the Court to expand the page
count if needed, but it does not allow the filing of a memorandum longer than
permitted by Civil L. R. 7 unless the Court grants leave before the memorandum is
filed. See Civil L. R. 7(g) and (i).

      The rule also makes clear that declarations made in compliance with 28 U.S.C.
§ 1746 may be used to the same effect as affidavits in supporting motions.

       Civil L. R. 7(d) allows the Court to take adverse action if the Court construes
the party’s lack of response as an “intent to abandon suit or as meriting a sanction.”
Marcure v. Lynn, 992 F.3d 625, 631 (7th Cir. 2021). When the moving party bears the
burden of proof, a failure to respond to the motion—standing alone—does not provide
sufficient grounds to grant or deny the motion. Id.; see also Robinson v. Waterman,
No. 20-1370, 2021 WL 2350875, *2 (7th Cir. June 9, 2021).

       Civil L. R. 7(i) is new. The provision addresses the filing of papers, including
motions or memoranda, for which leave to file is required. The rule provides that any
paper, which may not be filed without the Court’s first granting leave to file, must be
attached to the motion seeking leave to file that paper. If the Court grants leave to file,
the Clerk of Court must then file the paper.

        Civil L. R. 7(j) addressing “unreported” or non-precedential authorities is also
new. The provision clarifies the Court’s existing practice of allowing the citation of
authorities in addition to those reported in printed national reporters, with the
exception of orders whose citation and consideration is prohibited by Seventh Circuit
Rule 32.1. Civil L. R. 7(j) additionally requires a party relying on such an authority
to file a copy of that authority and serve it on all parties. Notably, with the exception
of orders subject to Circuit Rule 32.1, the new provision does not bar the citation of
decisions or orders even if a rule would bar the citation of the decision to the court that
issued the decision or to any other court. The Court may take limitations on the
authority’s use before other courts, as well as the “unpublished” or “non-precedential”
nature of the authority, into consideration when deciding the weight, if any, to be
afforded to the authority.




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       Civil L. R. 7(k) addressing Notice of Supplemental Authority is also new. The
Notice of Supplemental Authority should be submitted in the following format: “[Case
name and citation], is relevant to [page or section] of [title of brief, ECF No ].” The
rule does not contemplate a response by any party absent extraordinary circumstances.




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Civil L. R. 56. Summary Judgment.

      (a) Pro Se Litigation.

            (1) If a party is proceeding pro se in civil litigation and the opposing
      party files a motion for summary judgment, counsel for the movant must
      comply with the following procedure:
                    (A) The motion must include a short and plain statement that
             any factual assertion in the movant’s affidavit, declaration, or other
             admissible documentary evidence will be accepted by the Court as being
             true unless the party unrepresented by counsel submits the party’s own
             affidavit, declaration, or other admissible documentary evidence
             contradicting the factual assertion.

                    (B) In addition to the statement required by Civil L. R.
             56(a)(1)(A), the text to Fed. R. Civ. P. 56 (c), (d), and (e), Civil L. R. 56(a),
             Civil L. R. 56(b), and Civil L. R. 7 must be part of the motion.

            (2) This procedure also applies to motions to dismiss brought pursuant
      to Fed. R. Civ. P. 12(b)(6) or motions for judgment on the pleadings pursuant
      to Fed. R. Civ. P. 12(c) where matters outside the pleadings are presented to
      the Court.

           (b) Additional Summary Judgment Procedures. Motions for summary
judgment must comply with Fed. R. Civ. P. 56 and Civil L. R. 7. In addition, with the
exception of Social Security reviews, other actions for review of administrative agency
decisions, and other actions in which a judge relieves the parties of this Rule’s
requirements, the following must be met:

            (1) Moving Party’s Principal Materials in Support of Motion.
      With each motion for summary judgment, the moving party must file:

                    (A) a memorandum of law;

                   (B) a statement setting forth any material facts to which all
             parties have stipulated;

                  (C) a statement of proposed material facts as to which the
             movingparty contends there is no genuine issue and that entitle the
             moving party to a judgment as a matter of law;

                          (i) the statement shall consist of short numbered
                    paragraphs, each containing a single material fact, including
                    within each paragraph specific references to the affidavits,


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              declarations, parts of the record, and other supporting materials
              relied upon to support the fact described in that paragraph;

                   (ii) a moving party may not file more than 150 separately
              numbered statements of fact;

                    (iii) failure to submit such a statement constitutes
              groundsfor denial of the motion; and
             (D) any affidavits, declarations, and other materials referred
       toin Fed. R. Civ. P. 56(c).

        (2) Opposing Party’s Materials in Opposition. Each party
 opposinga motion for summary judgment must file within 30 days of service
 of the motion and the materials required by subsection (b)(1), above:

              (A) a memorandum of law;

              (B) a concise response to the moving party’s statement of facts
                  that must contain:

                     (i) a reproduction of each numbered paragraph in the
              moving party’s statement of facts followed by a response to each
              paragraph, including, in the case of any disagreement, specific
              references to the affidavits, declarations, parts of the record, and
              other supporting materials relied upon, and

                     (ii) a statement, consisting of short numbered
              paragraphs, of any additional facts that require the denial of
              summary judgment, including references to the affidavits,
              declarations, parts of the record, and other supporting materials
              relied upon tosupport the facts described in that paragraph. A
              non-moving party may not file more than 100 separately-
              numbered statements of additional facts. Each separately-
              numbered paragraph shall be limited to one material fact; and

              (C) any opposing affidavits, declarations, and other materials
       referred to in Fed. R. Civ. P. 56(c).

         (3) Moving Party’s Materials in Reply. A moving party may file
 within 14 days of the service of the opposing party’s materials under subsection
 (b)(2), above:

              (A) a reply memorandum;



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                        (B) a reply to any additional facts submitted by the opposing
                 party pursuant to subsection (b)(2) above, in the form prescribed in
                 section (b)(2)(B)(i) above; and

                       (C) any affidavits, declarations, and other materials referred to
                 in Fed. R. Civ. P. 56(c) submitted in reply.
                (4) Effect of Uncontroverted Statements of Fact. The Court will
          deem uncontroverted statements of material fact admitted solely for the
          purpose of deciding summary judgment.

                 (5) Stipulated Facts. Parties are encouraged to stipulate to facts.
          Factsso stipulated will not count against any party’s allotment of proposed
          facts anddo not require references to evidentiary support.

                 (6) Citations to Facts in Memoranda. Assertions of fact in the
          parties’ supporting memoranda must refer to the corresponding numbered
          paragraph of the statement of facts, statement of additional facts, or statement
          of stipulated facts.

                 (7) Prior Leave of Court Required to Increase the Number of
          Statements of Fact or Statements of Additional Fact. A party may not
          file any proposed statements of material fact or statements of additional fact
          in excess of the limit set forth in this rule unless the Court previously has
          granted leave upon a showing that an increase is warranted.

(8)      Length of Memoranda.

         (A) A principal memorandum in support of, or opposition to, summary
      judgment must not exceed 30 pages and a reply memorandummust not exceed 15
      pages (excluding any caption, cover page, table of contents, table of authorities,
      and signature block).

        (B) No memorandum exceeding the page limitations may be filedunless the
      Court previously has granted leave to file an oversizedmemorandum.

               (9) Sanction for Noncompliance. Failure to comply with the
            requirements in this rule may result in sanctions up to and including the
            Court denying or granting the motion. Sanctions remain available under
            General L.R. 83(f).

                (10) Collateral Motions. Collateral motions, such as motions to
            strike,are disfavored.

          Committee Comment: New Civil L. R. 56 replaces former Civil L. R. 56.1 and


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       56.2. The additional summary judgment procedures have been modified to
       limit the number of proposed statements of material fact. Moving parties are
       limited to 150 separately numbered proposed statements of material fact, and
       non-moving parties are limited to 100 separately numbered proposed
       statements of additional material facts. Stipulated statements of facts are not
       counted against any party’s allotment anddo not require evidentiary support.
       The rule expressly provides that the Court may increase the allowed number
       of proposed material facts upon a showing that anincrease is warranted.

       Civil L. R. 56(b)(2)(B) anticipates that the parties will respond to each statement
of proposed material fact by either: (i) admitting the fact; (ii) denying the fact; or (iii)
stating an objection. The preferred practice is to include arguments in support of
objections in the memoranda of law and not in the responses to the proposed
statements of material fact. The response should not simply incorporate a response
toan earlier numbered paragraph.

       Civil L. R. 56(b)(10) clarifies that collateral motions in the summary judgment
process, including motions to strike, are disfavored. Whenever possible all arguments
relating to the other party’s submissions should be contained in memoranda.

      Civil L. R. 56, like Civil L. R. 7, also makes clear that declarations made in
compliance with 28 U.S.C. § 1746 may be used in the summary judgment process to
the same effect as affidavits.




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